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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


TELEPHONE SCIENCE
CORPORATION,

                       Plaintiff,

v.                                                            Case No: 6:15-cv-969-Orl-41DCI

HILTON GRAND VACATIONS
COMPANY, LLC,

                       Defendant.
                                            /

                                            ORDER

        THIS CAUSE is before the Court on Plaintiff’s Notice of Voluntary Dismissal (Doc. 59).

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), the Clerk of Court is directed to close

this case.

        DONE and ORDERED in Orlando, Florida on January 17, 2017.




Copies furnished to:

Counsel of Record




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